With a view to evidence that the plaintiff would not have consented to the surgery in the face of a real possibility of a stroke, the rejected interrogatory proposed by the defense does bear considerable ambiguity, and the trial court was not under a duty to edit or rewrite the submitted interrogatory. Furthermore, the correct instructions of the trial court upon the same subject matter substantially diluted the possibility of any prejudice from the alleged error. In my opinion, therefore, the reversal of the verdict upon the ground stated reflects an unwarranted invasion upon the province of the jury in this case.
With particular reference to the question of prejudgment interest, the record discloses that the common pleas court acted with a conscious regard for the provisions of R.C.1343.03(C), and that its judgment allowing such interest is supported by competent and credible evidence. Hence, this court may not interfere.
Accordingly, I respectfully dissent from the opinion of my colleagues. I would affirm the judgment denying the motion for judgment notwithstanding the verdict, or in the alternative, for a new trial, and also affrim the order allowing prejudgment interest.
Kerns, J., retired, of the Second Appellate District, sitting by assignment of the Chief Justice, pursuant to Section 6(C), Article IV of the Ohio Constitution.